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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER ALLEN SCOTT,      )               MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

for modification of sentence pursuant to 18 U.S.C. § 3582(C)(2)

(Filing No. 1191).      This motion is a repeat of the motion filed

by the defendant on December 31, 2007 (Filing No. 1078), in which

he sought a modification of his sentence pursuant to the crack

cocaine guideline modifications that became effective November 1,

2007, and were subsequently made retroactive.

            That motion was denied by the Court as the defendant

had been found guilty by a jury of violation of 21 U.S.C.

§ 848(b), a continuing criminal enterprise.            The defendant was

not sentenced pursuant to the United States Sentencing Guidelines

but pursuant to a specific statute which mandated a life

sentence.    The recent modifications of the guidelines are not

applicable to the defendant, and he is not entitled to any relief

under those changed guidelines.        For these reasons and for the

reasons set forth in the Court’s memorandum opinion (Filing No.
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1080), the defendant will be denied.          A separate order will be

entered in accordance with this memorandum opinion.

            DATED this 24th day of August, 2011.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
